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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                   8:03CR290
                              )
          v.                  )
                              )
STERLING McKOY,               )               MEMORANDUM OPINION
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on defendant’s motion
to reopen motion to vacate 28 U.S.C. § 2255, as to resolve the

substance of constitutional claims set forth therein that still

remain unadjudicated pursuant to Fed.R.Civ.P. 60(b)(4), and

motion to amend or clarify those unadjudicated 2255 claims

pursuant to Fed.R.Civ.P. 15(c) (Filing No. 416).              Defendant’s

motion seeks to reopen the § 2255 motion which he filed on June

8, 2007.   That motion was considered and denied in this Court’s

memorandum opinion of August 8, 2007 (Filing No. 355).               On

October 5, 2007, the defendant filed a motion to reconsider the
denial of his § 2255 petition which the Court denied.               On October

10, 2007, the defendant filed a notice of appeal to the United

States Court of Appeals for the Eighth Circuit, and on June 18,

2008, defendant’s application for certificate of appealability

was denied and his appeal was dismissed.

           On November 21, 2008, he filed a petition for

certiorari with the Supreme Court of the United States, and that

petition was denied on February 25, 2009.             More than a year

later, on May 6, 2010, the present motion was filed.
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           Rule 60(b)(4) of the Federal Rules of Civil Procedure

provides that the Court may, on just terms, relieve a party from

a final judgment if the judgment is void.             However, no showing

has been made that the final judgment in this case was void.                 It

was premised on a jury verdict finding the defendant guilty of

conspiracy with others to distribute or possess with intent to

distribute cocaine base.

           Rule 15(c) of the Rules of Civil procedure provides for

the relation back of amendments to pleadings, and simply is not
applicable to defendant’s present motion.

           After review of defendant’s motion, the Court finds it

should be denied in its entirety.          After review, the Court

further finds that no certificate of appealability should be

issued.   A separate order will be entered in accordance with this

memorandum opinion.

           DATED this 24th day of May, 2010.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




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